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 1                                                   THE HONORABLE JAMES L. ROBART
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 8                                   UNITED STATES DISTRICT COURT

 9                             WESTERN DISTRICT OF WASHINGTON

10                                         SEATTLE DIVISION

11   KATHERINE MOUSSOURIS, HOLLY                   Case No. 2:15-cv-01483-JLR
     MUENCHOW, and DANA PIERMARINI,
12   on behalf of themselves and a class of        PLAINTIFFS’ OPPOSITION TO
     those similarly situated,                     MICROSOFT’S MOTION FOR
13                                                 SUMMARY JUDGMENT
                       Plaintiffs,
14                                                 NOTE ON MOTION CALENDAR:
            v.                                     April 6, 2018
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     MICROSOFT CORPORATION,
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                       Defendant.
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     CASE NO. 2:15-CV-01483-JLR                                                    275 Battery Street, 29th Floor
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 1          Holly Muenchow. Muenchow brings individual and class pay and promotion claims, and
 2   an individual claim for discrimination based on performance review. Muenchow earned a
 3   bachelor’s degree in computer science from Wellesley College in 2002 and entered Microsoft as
 4   a Level 58 Software Test Engineer that same year. Lamy Decl., Ex. B at P000676; ECF 243
 5   (Muenchow Decl.) ¶ 2.
 6                                                                                              ECF 411
 7   (Muenchow Interrogs.) at 9. This discrimination ensured Muenchow was paid less despite
 8   similar qualifications.
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15                                 .
16                                                             Lamy Decl., Ex. D, 194:22-196:9.
17          Muenchow has also observed men who started after her at lower Levels or who worked
18   with her at the same Level get promoted over her despite her similar or better performance.
19

20                                                                               ECF 411 at 30; ECF 243
21   ¶ 2.
22

23   ECF 243 ¶ 2, 18; ECF 404 ¶ 18; Gilgenbach Decl., Tbl. 3.
24

25                             Lamy Decl., Ex. D, 194:15-21; ECF 404 ¶ 18; Gilgenbach Decl., Tbl. 3.
26

27                                              ECF 404 ¶ 21; ECF 411 at 29; Gilgenbach Decl., Tbl. 3.
28                                                                                           ECF 404 ¶¶ 5,
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 1          A.      Plaintiffs’ Claims Are Timely and Ripe
 2                    1.      Statutes of Limitation Do Not Bar Any of Plaintiffs’ Claims
 3          The Parties do not dispute that the liability period for Title VII commences on July 18,
 4   2013 and for the WLAD on September 16, 2012, under the ruling of this Court. ECF 134. All
 5   Plaintiffs assert claims that arose during these liability periods: each Plaintiff asserts pay,
 6   promotion, and performance claims during liability years in which they have been employed;
 7   Moussouris asserts claims for retaliation and constructive discharge in 2014; and Piermarini
 8   asserts a claim for retaliation in 2015.
 9          To the extent Plaintiffs have adduced facts that predate the liability period—e.g.,
10

11       —these are relevant background that “may be considered by the trier of fact in assessing
12   [Microsoft]’s liability” during the present period. Lyons v. England, 307 F.3d 1092, 1111 (9th
13   Cir. 2002). In particular, evidence of discrimination before the liability period may “be offered
14   for its probative value in assessing whether the employer’s justifications for its present conduct
15   lack credibility.” Id. at 1112. Additionally, the Ledbetter Fair Pay Act, which amended Title VII,
16   provides that “an unlawful employment practice occurs . . . when an individual is affected by
17   application of a discriminatory compensation decision or other practice, including each time . . .
18   compensation is paid, resulting in whole or in part from such a [past] decision or other practice.”
19   42 U.S.C. § 2000e-5(e)(3)(A). The statute, in turn, authorizes “recovery of back pay for up to
20   two years preceding the filing of [an EEOC] charge.” Id. 2000e-5(e)(3)(B). Thus, discriminatory
21   compensation decisions that occur before the Title VII liability period are relevant because they
22   may affect compensation during the liability period, and because Plaintiffs are entitled to two
23   years of pre-liability period back pay. See, e.g., Gertskis v. N.Y.C. Dep’t of Health & Mental
24   Hygiene, 07-2235, 2009 WL 812263, at *4 (S.D.N.Y. Mar. 26, 2009) (applying Ledbetter Fair
25   Pay Act and explaining that pre-liability pay decisions continued to affect plaintiff and thus most
26   of her Title VII claims not time-barred).
27                    2.      Plaintiff Piermarini Has Exhausted Her Administrative Remedies
28          Piermarini was not required to exhaust WLAD claims, and those claims go forward,
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 1   dating back to September 16, 2012 (based on the Complaint filing). Gonzalez v. Nat’l R.R.
 2   Passenger Corp., 376 F. App’x 744, 746 (9th Cir. 2010). As to her Title VII claims, Microsoft is
 3   wrong that Piermarini cannot rely on Moussouris’s EEOC class charge. The single filing rule
 4   permits individuals whose claims are encompassed by a class charge to “piggyback” on that
 5   charge. See Harris v. Cty. of Orange, 682 F.3d 1126, 1136 (9th Cir. 2012). Moussouris’s EEOC
 6   charge clearly covered Piermarini’s pay, promotion, and retaliation claims because Piermarini
 7   was a member of the putative class encompassed by the charge.14 The fact that Plaintiffs later
 8   moved for class certification on behalf of a narrower class is irrelevant to whether Piermarini
 9   was entitled to piggyback on Moussouris’s charge at the time the Complaint was filed. The
10   purpose of exhaustion is to provide notice to the employer of the claims and to enable the
11   EEOC’s conciliation efforts with the employer. Zipes v. Trans World Airlines, Inc., 455 U.S.
12   385, 397 (1982). Microsoft does not claim that it lacked notice of Piermarini’s claims based on
13   the original EEOC charge or that the EEOC was unable to conciliate the full scope of the claims.
14   Mot. at 10. The charge thus supported piggybacking for Piermarini. See Moussouris, 2016 WL
15   4472930, at *5 n.6 (Mar. 7, 2016) (discussing application of single filing rule); EEOC v. NCL
16   America, Inc., 504 F. Supp. 2d 1008, 1013 (D. Haw. 2007) (piggybacking excuses exhaustion
17   where little risk of prejudice to defendant). Microsoft cites no authority supporting its position.
18           Even if Microsoft were correct that Piermarini could not rely on the original charge, it has
19   waived this argument. Filing a charge of discrimination with the EEOC “is not a jurisdictional
20   prerequisite to suit in federal court, but a requirement that, like a statute of limitations, is subject
21   to waiver, estoppel, and equitable tolling.” Zipes, 455 U.S. at 393. Microsoft has been on notice
22   of Piermarini’s claims at least since Plaintiffs filed the First Amended Complaint in October
23   2015. It did not move to dismiss these claims for lack of exhaustion in its motions to dismiss that
24   complaint, ECF No. 23, or the Second Amended Complaint, ECF No. 62.
25

26   14
        See ECF 8-1, ¶¶ 1, 21-22. The cases that Microsoft cites are distinguishable, Mot. at 10, because the charges
     alleged claims that were fundamentally different from those alleged in the lawsuits. See Ng v. Potter, 2009 WL
27   3836045, at *5-6 (W.D. Wash. Nov. 12, 2009) (in single-plaintiff case an EEOC disparate treatment charge was not
     sufficient to exhaust the hostile work environment claim); EEOC v. Fry’s Electronics, Inc., 770 F. Supp. 2d 1168,
28   1173 (W.D. Wash. 2011) (finding that one claim was “not ‘nearly identical’ or even substantially similar to that
     charged by Mr. Lam . . . [because] the two claims involve different elements and are legally independent”).
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 1   employment practice causes a protected minority group to be under represented in a specific area
 2   of employment (for example, hiring or promotion). The statistical analysis must show a disparity
 3   that is ‘sufficiently substantial’ as to ‘raise such an inference of causation.’” Paige v. California,
 4   291 F.3d 1141, 1145 (9th Cir. 2002) (quoting Watson v. Fort Worth Bank & Trust, 487 U.S. 977,
 5   994-95 (1988)). Plaintiffs have presented sufficient statistical evidence to raise an inference that
 6   the common pay and promotion Calibration process caused disparate impact.
 7

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 9

10                       Taken together, the statistical and anecdotal evidence creates a causal chain
11   from which a jury could reasonably infer that the Calibration process caused the pay and
12   promotion disparities. See Hemmings, 285 F.3d at 1190 (“statistical conclusions about the large
13   disparities in salaries and the lack of women in upper management, as well as the anecdotal
14   testimony by multiple witnesses about the subjective promotion processes and award of salary
15   and benefits” supported disparate impact jury finding); Coral Const. Co. v. King Cty., 941 F.2d
16   910, 919 (9th Cir. 1991) (denying summary judgment for “potent” combination of anecdotal and
17   statistical evidence).
18            Microsoft is wrong that Plaintiffs’ experts must opine on causation, which is an issue for
19   the trier of fact to decide.21 See ECF 340 (Pls.’ Class Cert. Reply) at 10-11 (citing cases); ECF
20   370 (Pls.’ Opp. to Def.’s Mot. to Exclude Farber Reports) at 11-12 (same).22 See also Hazelwood
21   Sch. Dist. v. United States, 433 U.S. 299, 307 (1977); Eldredge v. Carpenters J. Appr’ship & Tr.
22   Comm., 833 F.2d 1334, 1340 n.8 (9th Cir. 1987).23
23                       2.       There Is Substantial Evidence of Intentional Discrimination.
24            Plaintiffs will prove at trial that Microsoft discriminated against them on the basis of
25
     21
        Microsoft’s criticisms of the level of specificity and variables used by Dr. Farber should be rejected for the
26   reasons in Plaintiffs’ Opposition to Defendant’s Motion to Exclude Dr. Farber’s Reports and Opinion (ECF 370).
     22
        See Nationwide Transp. Fin. v. Cass Info. Sys., Inc., 523 F.3d 1051, 1058 (9th Cir. 2008) (expert witness cannot
27   give opinion as to legal conclusion, “i.e., an opinion on an ultimate issue of law”); see also Microsoft Corp. v.
     Motorola, Inc., 10-1823, 2013 WL 4008822, at *10 (W.D. Wash. Aug. 5, 2013) (Robart, J.) (same).
     23
28      Chen-Oster v. Goldman, Sachs & Co., 2018 U.S. Dist. LEXIS 54732 (S.D.N.Y. Mar. 30, 2018) (certifying class
     and rejecting defendants’ similar causation arguments).
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 1   1122 (9th Cir. 2004) (“Failure to promote is a common manifestation of disparate treatment.”)
 2   (citing Tex. Dep’t of Community Affairs v. Burdine, 450 U.S. 248, 253 (1981)); Yartzoff v.
 3   Thomas, 809 F.2d 1371, 1376 (9th Cir. 1987) (undeserved performance ratings are adverse
 4   employment decisions under Title VII); Davis v. Team Elec. Co., 520 F.3d 1080, 1089 (9th Cir.
 5   2008) (adverse action if unfair rating “materially affect[s] the compensation, terms, conditions,
 6   or privileges of . . . employment”).
 7

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 9

10            Moussouris. Moussouris was denied promotions                                        , despite being eligible
11   and well-qualified.
12                                                    , Moussouris would have earned significantly more had
13   she been promoted.25 Microsoft’s argument that Moussouris was already highly compensated
14   and thus could not have experienced an adverse action is meritless.
15                                            . Microsoft’s argument that Moussouris’s performance
16   evaluation             cannot constitute an adverse action is also wrong (and Microsoft ignores her
17                ):
18

19            Muenchow. Despite her qualifications, Muenchow was denied promotions. See § II,
20   supra. Microsoft concedes that these denials and corresponding pay decisions constitute adverse
21   employment actions, but argues that the criticisms in Muenchow’s performance reviews are not.
22   Mot. at 14-15.
23                                                                                                       . Muenchow has
24   made a prima facie showing that she received lower pay, fewer promotions, and harsher
25
     25
        Microsoft recycles its earlier argument here that Moussouris was paid more than Dr. Farber’s model purportedly
26   predicts. As discussed in Plaintiffs’ certification and Daubert briefing, it is inappropriate to use a class aggregate
     regression model to predict individual outcomes. ECF 340 at 6, 25 n.54; ECF 364 at 10 n.5. Microsoft also repeats
27   its misapplication of Dr. Farber’s probit analysis to predict an individual’s probability of promotion in a single
     instance. Notwithstanding these issues, Dr. Farber illustrated in his Rebuttal Report that if Moussouris had been
28   promoted in 2012, her compensation would have been significantly higher than the actual compensation she
     received in 2012, 2013, and 2014. ECF 344 (Farber Rebuttal Report) ¶ 17 & Tbl. 2.
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 1   impermissible catch 22: out of a job if they behave aggressively and out of a job if they do not.
 2   Title VII lifts women out of this bind.”). As discussed above, Moussouris’ reasons for
 3   relinquishing management duties are also, at minimum, disputed.
 4          For Muenchow, Microsoft argues that her self-assessments reveal “weaknesses” in her
 5   work. Mot. at 19. To the contrary, the statements Microsoft highlights in self-evaluations reflect
 6   only her efforts to conform to the biased reality she was forced to work within.
 7

 8

 9   Discrimination again fails as a defense to discrimination. Hopkins, 490 U.S. at 251.
10          For Piermarini, Microsoft cherry picks only three isolated comments from her nine-year
11   career at Microsoft. These do not justify Microsoft’s repeated decision to pass over Piermarini
12   for promotion in favor of similarly or less qualified males. See § II, supra. Notably, all cited
13   criticisms are from 2015, shortly after she complained to human resources.
14          Microsoft’s Explanations are Pretextual: A plaintiff may establish pretext “either
15   directly by persuading the court that a discriminatory reason more likely motivated the employer
16   or indirectly by showing that the employer’s proffered explanation is unworthy of credence.”
17   Burdine, 450 U.S. at 256. When direct, a plaintiff “need produce very little evidence of
18   discriminatory motive to raise a genuine issue of material fact.” Godwin, 150 F.3d at 1220.
19   When indirect, a plaintiff must produce “specific, substantial evidence of pretext.” Id. at 1221.
20          Here, all three Plaintiffs produced direct evidence of discriminatory motive, in that
21

22

23                  . See § II, supra; see also Lindahl v. Air France, 930 F.2d 1434, 1439 (9th Cir.
24   1991) (holding that statements “that reflect male/female stereotypes” such as that female
25   candidates get “nervous” and “easily upset [and] lose[] control” qualify as direct evidence of
26   discrimination). All Plaintiffs also produced direct and circumstantial evidence undermining
27   Microsoft’s purported non-discriminatory reasons for its discrimination,
28                                                  . See ECF 228 at 19-26. This is the unusual case
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 1   where the Plaintiffs’ individual claims are supported by a compendium of supporting class
 2   evidence—
 3

 4                       3.       Plaintiff Moussouris Was Constructively Discharged.
 5            To survive summary judgment, Moussouris “must show that there are triable issues of
 6   fact as to whether a reasonable person in [her] position would have felt . . . forced to quit because
 7   of intolerable and discriminatory working conditions.” Steiner v. Showboat Operating Co., 25
 8   F.3d 1459, 1465 (9th Cir. 1994) (internal quotation marks omitted). This is typically a factual
 9   determination, reserved for the jury. Watson v. Nationwide Ins. Co., 823 F.2d 360, 361 (9th Cir.
10   1987). Importantly, “the fact that [a] plaintiff was able to competently perform his job and meet
11   expectations does not prevent him from asserting that his working conditions were intolerable
12   such that a reasonable person faced with these conditions would have felt compelled to resign.”
13   Juell v. Forest Pharm., Inc., 456 F. Supp. 2d 1141, 1152 (E.D. Cal. 2006).26
14            Moussouris has provided substantial evidence that she was
15

16

17                                    See § II, supra; see also Juell, 456 F. Supp. 2d at 1151 (denying
18   summary judgment where there was a fact dispute regarding whether changes in job duties
19   rendered work intolerable); Watson, 823 F.2d at 361-62 (reversing summary judgment where,
20   among other things, manager transferred away supervisory duties).
21                                                                                                                  , Juell,
22   456 F. Supp. 2d at 1152, and Microsoft’s suggestion that she should have quit on the spot (and
23   further damaged her professional reputation),
24                                     . See id. (triable claim where plaintiff remained in same workplace).
25                       4.       Plaintiffs Moussouris and Piermarini Were Retaliated Against.
26            An employee establishes a prima facie case of retaliation by showing that: (1) she
27
     26
28     Though Juell is a FEHA case, the court explicitly noted that FEHA is patterned after Title VII and that Title VII
     cases are therefore instructive. 456 F. Supp. 2d at 1149. The reverse is also true.
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 1   engaged in protected activity, (2) her employer subjected her to an adverse employment action,
 2   and (3) a causal link exists between the protected activity and the adverse employment action.
 3   Ray v. Henderson, 217 F.3d 1234, 1240 (9th Cir. 2000). The burden then shifts to the employer
 4   to articulate a legitimate, non-retaliatory reason for the adverse actions. Id. at 1240. Plaintiffs
 5   Moussouris and Piermarini have demonstrated a prima facie case of retaliation.
 6           Both Plaintiffs suffered cognizable adverse employment actions under the Ninth Circuit’s
 7   “expansive” interpretation of those terms, see id. at 1241, and the temporal proximity between
 8   their protected activity and the adverse actions they suffered, along with other evidence,
 9   demonstrate the required causal nexus. Passantino v. Johnson & Johnson Consumer Prod., Inc.,
10   212 F.3d 493, 507 (9th Cir. 2000) (retaliatory intent may be inferred when adverse employment
11   decisions taken within reasonable period after complaints of discrimination have been made).
12   Microsoft has not proffered any legitimate reasons in response.
13                             a.       Moussouris’s 2008 Bonus Is Pre-Liability Evidence.
14           Microsoft’s actions
15

16                                                                                                                       .
17   Moussouris engaged in protected activity (which Microsoft does not appear to dispute)
18

19   See § II, supra.
20                                                                                             . See § II, supra.
21   Microsoft merely asserts that Moussouris failed to show that her bonus was adjusted downward.
22   However,
23

24                                                                                                                       .
25   Therefore, Moussouris has established a prima facie case of retaliation, and while her claim may
26   be time-barred, it remains salient pre-liability evidence.27
27
     27
28    Moussouris also alleged retaliation in 2014 in her EEOC charge, ECF 8-1 ¶ 20, and re-stated those facts in the
     SAC. ECF No. 55, ¶ 71. Microsoft did not move for summary judgment on that claim.
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 1                               b.      Piermarini Suffered Retaliatory Adverse Employment Actions.
 2            Piermarini received unwarranted negative feedback in her performance reviews on two
 3   occasions, both closely following her complaints of gender bias, and her work assignments were
 4   overloaded right after her deposition, setting her up for failure. See § II, supra. The proximity
 5   between the reviews and Piermarini’s protected conduct raises an inference of causation. See
 6   Yartzoff, 809 F. 2d at 1376; Passantino, 212 F.3d at 507; Coszalter v. City of Salem, 320 F.3d
 7   968, 977 (9th Cir. 2003) (“[T]hree to eight months is easily within a time range that can support
 8   an inference of retaliation.”). Moreover, Piermarini’s negative reviews were inconsistent with her
 9   prior reviews, which distinguishes this case from Microsoft’s authority. Compare Yount v.
10   Regent University, Inc., 08-8011, 2009 WL 995596, at *9 (D. Ariz. Apr. 14, 2009) (no retaliation
11   where employee failed to show employer’s actions were sudden, unanticipated changes to
12   otherwise positive history) with Little v. Windermere Relocation, Inc., 301 F.3d 958, 970 (9th
13   Cir. 2002) (denying summary judgment where employee received only positive feedback prior to
14   adverse action). Furthermore,
15

16                            .28 See § II, supra. These facts also support an inference of retaliation.29
17            Although Microsoft suggests that the negative feedback Piermarini received was
18   “legitimately related to her managers’ opinions of her performance,” Mot. at 23, it cites no
19   evidence to support its claim. Microsoft also fails to rebut Piermarini’s allegations regarding the
20   realignment of her workload and subpar compensation in 2016.30
21                       5.        Microsoft’s Conduct Warrants Punitive Damages.
22            To receive an award of punitive damages under Title VII, a jury must conclude that
23   Microsoft acted with “malice” or “reckless indifference,” meaning Microsoft had “knowledge
24
     28
        See Williams v. Lane Cty., 04-6015, 2004 WL 2332026, at *4 (D. Or. Oct. 15, 2004) (adverse action occurring
25   between one and four months after protected activity raised inference of retaliation).
     29
        Kortan v. California Youth Authority, cited by Defendant, is distinguishable both because the performance
26   evaluation at issue was not “undeserved” and, unlike Piermarini, the plaintiff in Kortan cited no other consequences
     of the retaliation. 217 F.3d 1104, 1113 (9th Cir. 2000).
     30
27      The only other case cited by Microsoft, Mitchell v. Superior Ct. of Cal. Cnty. of San Mateo, also does not advance
     its argument. 312 F. App’x 893 (9th Cir. 2009). In Mitchell, the Ninth Circuit affirmed a grant of summary judgment
28   on a retaliation claim where the employer proffered “at least nineteen different legitimate, non-discriminatory
     reasons” for the adverse employment action. Id. at 894-95. Microsoft has not offered a single one.
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 2               I hereby certify that on April 2, 2018, I caused the foregoing document to be
 3   electronically filed with the Clerk of the Court using the CM/ECF system which will send
 4   notification of the filing to all counsel of record.
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